                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ALI RAZAK, KENAN SABANI, and
 KHALDOUN CHERDOUD,                                  Case No. 2:16-cv-00573-MMB

                Plaintiffs,                          Judge Michael M. Baylson

         v.

UBER TECHNOLOGIES, INC. and
GEGEN LLC,

                Defendants.


   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ TRIAL BRIEF
 REGARDING COURT’S STATEMENT OF THE CASE DURING JURY SELECTION

       Plaintiffs Ali Razak, Kenan Sabani, and Khaldoun Cherdoud submit this response in

opposition to Defendants Uber Technologies, Inc. and Gegen LLC’s trial brief regarding the

Court’s statement of the case during jury selection, ECF No. 321.

       Uber’s trial brief asks this Court to summarize the case in a manner that prejudices

Plaintiffs. For instance, Uber wants the Court to refer to it as “a company that created a smartphone

application that connects drivers and people who want rides.” But the nature of Uber’s business is

disputed, with Plaintiffs contending that Uber was a transportation company that employed black

car drivers. Similarly, Uber would have this Court describe Plaintiffs as having “utilized,” rather

than worked for, UberBLACK.

       Rather than adopt Uber’s self-serving narrative, the Court should simply provide the same

statement of the case as before:

               Okay. Now, ladies and gentlemen, I'm going to just give you a very
               brief summary of what this case is about, because I think it relates
               to some of the questions I'm going to be asking you about your being
               able to serve on the jury.



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So the plaintiffs. The plaintiffs are the party who initiate the lawsuit.
And as you probably know, our courts are open. Any individual is
allowed to bring a lawsuit in the United States and including in this
Court. And there's a filing fee usually, but if people can't afford the
filing fee, they're allowed to file a case without a filing fee.

And the purpose of a trial is for the plaintiffs to be able to prove their
case, to present facts and witnesses from the witness stand to prove
their case is right. And the defense is here to defend against the case,
because the defense is that they are not liable to the plaintiffs. So
that's why we're having a jury to decide this issue.

Now, the plaintiffs assert that they are Uber Black drivers. Uber, as
you may know, is a ridesharing company that was started after the
internet and cell phones were developed to allow people who want
to get a -- who need a ride. This is a function that was formerly
served by taxicabs. Some of you may have used Uber, or some of
you may not have used Uber. I'm going to ask a question about that
in a little bit.

But the way Uber functions, according to the allegations, is that if
an individual wants to -- and Uber is probably the biggest
ridesharing company. There's another one called Lyft, L-Y-F-T, that
some of you may have heard about. And I believe there are some
others. But this case is against Uber, so we're really going to focus
just on Uber.

So the way Uber works is that if a individual needs a ride, and they
want to get a ride from Uber, they have an application on their cell
phone. I assume most of you have cell phones or use them or know
about them. And you can -- you have an app store on your phone,
and you can download apps, and one of the apps you can download
is from Uber.

And if you want a ride from Uber, then you click on the app, and the
app knows where you are located, where you're using the cell phone,
and the app will find a Uber driver near you, or in most cases, can
find an Uber driver near you, particularly in the City.

Now, I said before, this case is being brought by individuals who are
Uber Black drivers. As I understand, Uber Black is a more luxurious
or larger vehicle than an ordinary Uber, which is referred to as
UberX. I believe, when you go on the app, when you download the
app and you click on the app, sometimes you may get a choice
between getting an UberX or Uber Black. Okay? So these drivers
contend they are Uber Black drivers.

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               Now, they have brought this lawsuit because they believe that they
               are employees of Uber and are not getting benefits that are due to
               them as employees. Uber asserts that they are not employees. They
               are what Uber calls independent contractors. An independent
               contractor is basically someone who is self-employed. That is, they
               have their own business. It could be a carpenter. It could be someone
               who's in the building business or owns a store or anything like that.
               But they're self-employed. They don't work for another -- an
               employee is someone who works for another company.

(March 4, 2024, Jury Selection, Trial Trans. 8:1–10:9).



Dated: June 9, 2024                          Respectfully submitted,

                                             s/ Shannon Liss-Riordan
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                             CERTIFICATE OF SERVICE

      I, Shannon Liss-Riordan, certify that on June 9, 2024, a true and accurate copy of the

foregoing document was served on counsel for Defendants by filing on the Court’s CM/ECF

system.


                                         s/ Shannon Liss-Riordan
                                         Shannon Liss-Riordan




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